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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 __________________________________________
                                                       )
 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
                v.                                     )       Case No. 1:19-cv-1197-LO-TCB
                                                       )
 EDWARD SNOWDEN,                                       )
                                                       )
                        Defendant,                     )
                                                       )
 and                                                   )
                                                       )
 MACMILLAN PUBLISHING GROUP, LLC                       )
 d/b/a HENRY HOLT AND COMPANY,                         )
                                                       )
                        Relief-Defendant.              )
                                                       )

       JOINT MOTION FOR ENTRY OF FINAL JUDGMENT AND PERMANENT
            INJUNCTION AGAINST DEFENDANT EDWARD SNOWDEN

        In order to facilitate the conclusion of proceedings before this Court without the need for

 summary judgment motion practice or trial, the parties hereby jointly request that the Court enter

 a Final Judgment and Permanent Injunction against Defendant Edward Snowden in the form

 attached hereto as Exhibit A. In stipulating to the entry of this Final Judgment and Permanent

 Injunction, the parties do not amicably resolve all of their differences this matter. Instead, the

 attached form of Final Judgment embodies the parties’ agreement as to the relief that flows from

 the Court’s earlier summary judgment ruling on liability, United States v. Snowden, No. 1:19-

 CV-1197, --- F. Supp. 3d ---, 2019 WL 8333546 (E.D. Va. Dec. 17, 2019), and the Court’s ruling

 imposing discovery sanctions pursuant to Fed. R. Civ. P. 37, and thus would likely be granted

 the United States upon summary judgment motion practice. Accordingly, each party maintains
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 its respective litigation positions and reserves all rights with regard to the issues of liability

 presented in the earlier summary judgment filings, ECF Nos. 21-22, 51-52, 58. Defendant

 Snowden expressly reserves his right to appeal from the Court’s December 17, 2019 liability

 ruling, and if he obtains any favorable ruling on appeal, reserves all rights as to the effect of that

 ruling on each and every provision of the attached Final Judgment; however, execution of such

 Judgment shall not be stayed pending any appeal. All rights with regard to the enforcement of

 such Final Judgment in the future are likewise reserved.

                                                 Respectfully Submitted,


 DATED: September 18, 2020                       JEFFREY BOSSERT CLARK
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